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                       UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

USA


vs.                                                  NO: EP:20-CR-00389(1)-DCG

(1) PATRICK WOOD CRUSIUS


                           ORDER ACCEPTING WAIVER OF
                    PERSONAL APPEARANCE AT ARRAIGNMENT


       Defendant filed a Notice of Waiver of Personal Appearance at Arraignment, signed by
defendant and defendant's attorney, in which defendant affirms:

•     Defendant has received a copy of the charging document;
•     Defendant has read the charging document or had it read to him/her;
•     Defendant understands that he/she has the right to personally appear at arraignment; and
•     Defendant desires to waive personal appearance at arraignment and reading of the
      charging document, and tender a plea of "not guilty."

       Pursuant to Federal Rule of Criminal Procedure 10(b), the Court hereby ACCEPTS the
waiver of appearance and directs that a plea of NOT GUILTY be entered for defendant.


       It is so ORDERED this 12th day of February, 2020.,




                                                   IIGUEG A. TORRES
                                                 UNITED STATES MAGISTRATE JUDGE
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